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                 Exhibit 20
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5    Attorneys for Defendants
     ONLINENIC, INC. and DOMAIN ID SHIELD SERVICE
6    CO., LIMITED
7

8                                    UNITED STATES DISTRICT COURT
9
                                 NORTHERN DISTRICT OF CALIFORNIA
10

11   FACEBOOK, INC. and INSTAGRAM,                         Case No. 19-CV-07071-SVK
     LLC
12                                                         ONLINENIC, INC.’S FIRST
                      Plaintiffs,                          AMENDED RESPONSES TO
13           v.                                            PLAINTIFF FACEBOOK, INC.’S
                                                           FIRST SET OF
14                                                         INTERROGATORIES.
     ONLINENIC, INC. and DOMAIN ID
15   SHIELD SERVICE CO., LIMITED.

16                   Defendants.

17

18
     PROPOUNDING PARTY:                        Facebook, Inc.
19
     RESPONDING PARTY:                         OnlineNIC, Inc.
20
     SET NO.:                                  One (1)
21

22
             Defendant OnlineNIC, Inc. (“Defendant”) hereby responds to the Request for Production of
23
     Documents propounded by Facebook, Inc. ( “Plaintiff”) as follows:
24
                                          PRELIMINARY STATEMENT
25
             A.      The specific responses as set forth below are for the purposes of discovery only and
26
     OnlineNIC does not intend to waive, but expressly reserves, any and all objections and may have
27
     to the relevance, competence, materiality, admissibility or use at trial of any information,
28
                                                         - 1-
     Facebook, Inc. v. OnlineNIC, Inc.                                                     Case No. 19-cv-7071-SVK
     OnlineNIC, Inc.’s First Amended Responses to Facebook, Inc.’s Interrogatories – Set 1
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     From Defendants previous responses, in any event, Defendants do not engage in
1
     REGISTRATION, TRAFFICKING OR USE. Notwithstanding the foregoing, Defendants have
2
     prepared two witnesses to address Plaintffs’ allegations concerning these matters. Carrie Yu and
3
     Leon Freeman will be designated as 30(b)(6) witnesses for Defendant and she will be familiar with
4
     Defendants involvement with the ACCUSED DOMAIN NAMES. Their identifying information,
5
     to the extent available, is separately attached and designated as CONFIDENTIAL.
6
     INTERROGATORY NO. 3:
7
             Explain in detail all facts supporting YOUR contention that ONLINENIC and DOMAIN
8
     ID SHIELD are not alter egos of one another.
9
     RESPONSE TO INTERROGATORY NO. 3
10
             As discussed above, no Defendant REGISTERED, TRAFFICKED IN, or USED the
11
     Accused Domain Names. Accordingly, based on the order in Facebook, Inc v. Namecheap, Inc.,
12
     2020 U.S. Dist. LEIS 210068, there are no facts that support the “fraud” prong of establishing an
13
     alter ego.
14
     INTERROGATORY NO. 4:
15
             IDENTIFY all officers of ONLINENIC since 2009, and their business relationship, if any,
16
     with 35.CN and DOMAIN ID SHIELD.
17
     RESPONSE TO INTERROGATORY NO. 4
18
             Based on records available to Defendant, Carrie Yu, Rex Liu, Zhippo Chen, Shaohui Gong.
19
     Their identifying information, to the extent available, is provided separately and is designated as
20
     CONFIDENTIAL. Carrie Yu is an officer of OnlineNIC and an employee of 35.CN. Liu is a local
21
     representative and employee of OnlineNIC, and has no business relationship with 35. Chen has no
22
     business relationship with 35.CN, and is a shareholder of OnlineNIC. Gong is a former officer of
23
     35.CN, and he has no business relationship with OnlineNIC.
24
     INTERROGATORY NO. 5:
25
             IDENTIFY all shareholders and owners of ONLINENIC since 2009, and their business
26
     relationship, if any, with 35.CN and DOMAIN ID SHIELD.
27
     RESPONSE TO INTERROGATORY NO. 5
28
                                                         - 5-
     Facebook, Inc. v. OnlineNIC, Inc.                                                     Case No. 19-cv-7071-SVK
     OnlineNIC, Inc.’s First Amended Responses to Facebook, Inc.’s Interrogatories – Set 1
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             Zhippo Chen and Shaohui Gong. Chen has no business relationship with 35.CN or
1
     DOMAIN ID SHIELD. Shaohui Gong is a shareholder in 35 and has no business relationship with
2
     DOMAIN ID SHIELD. Their identifying information, to the extent available, is provided
3
     separately and is designated as CONFIDENTIAL.
4
     INTERROGATORY NO. 6:
5
             IDENTIFY all directors of ONLINENIC since 2009, and their business relationship, if any,
6
     with 35.CN and DOMAIN ID SHIELD.
7
     RESPONSE TO INTERROGATORY NO. 6
8
             Based on records available to OnlineNIC, Carrie Yu. Defendant will seek to obtain records
9
     from the Secretary of State to determine additional information. Her identifying information, to the
10
     extent available, is provided separately and is designated as CONFIDENTIAL.
11
     INTERROGATORY NO. 7:
12
             IDENTIFY all employees of ONLINENIC since 2009, and their business relationship, if
13
     any, with 35.CN and DOMAIN ID SHIELD.
14
     RESPONSE TO INTERROGATORY NO. 7
15
             Rex Liu and Minghe Wang. In addition, Carrie Yu acts as VP, Business Development, and
16
     Zhippo Chen is the President. Their identifying information, to the extent available, is provided
17
     separately and is designated as CONFIDENTIAL.
18
     INTERROGATORY NO. 8:
19
             IDENTIFY all independent contractors, including technical support staff, of ONLINENIC
20
     since 2009, and their business relationship, if any, with 35.CN and DOMAIN ID SHIELD.
21
     RESPONSE TO INTERROGATORY NO. 8
22
             35.CN.
23
     INTERROGATORY NO. 9:
24
             Describe the business, corporate, working or other relationship between ONLINENIC and
25
     35.CN, including the services which 35.CN performs for or on behalf of ONLINENIC, and any
26
     monetary payment which 35.CN receives for those services.
27
     RESPONSE TO INTERROGATORY NO. 9
28
                                                         - 6-
     Facebook, Inc. v. OnlineNIC, Inc.                                                     Case No. 19-cv-7071-SVK
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